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Book                               Policies

Section                            6000: Fiscal Management

Title                              TRAVEL, CONFERENCE ATIENDANCE AND EXPENSE REIMBURSEMENT

Code                               6830

Status                             Active

Adopted                            September 25, 1991

Last Revised                       January 25, 2006

Prior Revised Dates                February 28, 2001; June 22, 2005



6830
TRAVEL, CONFERENCE ATTENDANCE AND EXPENSE REIMBURSEMENT

The Board of Education recognizes the value of participation at professional conferences, meetings and visitations as
one way of ensuring that the Poughkeepsie City School District's educational programs are current and state of the art.
Fmther, attendance at or support of such activities can help the Board identify future trends that could benefit our
children.

The Superintendent of Schools or designee may direct employees or approve requests from employees to attend
meetings, conferences or visitations as a representative of the School District, except as provided herein. This will
include expenses within budgeted appropriations.

Board approval is required for:

         (1)travel in excess of 200 miles by members of the Board of Education, the Superintendent of Schools and
         District Clerk. The Board resolution will contain the name of the activity, date(s) and location, as well as the
         names of persons attending. The resolution ,vill indicate whether expenses are included. The Board will act on
         this resolution before the event occurs except in emergencies.
         (2) travel by employees and students outside of the country. The Board resolution will include the name of the
         travel activity, the person(s) attending, the dates of travel and, if applicable, the amount the Board authorizes
         towards the cost of such travel. If an employee has requested a leave for the purpose of such travel, the Board will
         entertain that request as a separate resolution.
         (3) travel by employees and students that involves appropriations for domestic airfare. The Board resolution ,.vill
         include the name of the activity, the name of those attending, the dates of the activity and the amount the Board
         authorizes towards the cost of such travel.

If an employee is invited to travel outside of the country by an organization other than the School District (e.g., New
York State Education Department, Federal Government, Foreign Government, etc.) for an educationally-related
purpose which will benefit the School District, the employee shall submit a written request for Board approval to the
Superintendent of Schools, including all available information, at least two months prior to the date of travel. If the
inviting organization ·will not pay for all or part of the expenses, the Board may act by resolution to pay for some or all of
the costs of travel outside of the country. In the event full funding is not available, the employee may opt to pay for all of
his/her own expenses. If the employee has requested a leave for the purpose of such travel, the Board \.\'lll entertain that
request as a separate resolution. The employee who participates in any such Board approved activity is expected to
submit a report in writing regarding the benefits gained from such travel experience.
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School District officers, employees and members of the Board of Education will be reimbursed for appropriate and
reasonable out-of-pocket expenses incurred while traveling for school related a ctivities. Only expenses necessary for th e
purpose of travel shall be reimbursable. Transpo1tation costs, such as taxicabs, are allowable only for essential
transportation. Mileage for travel by personal vehicle will be paid at the rate fixed annually by the Board. Tax exemption
certificates shall be issued and utilized as appropriate.

The Superintendent of Schools shall determine, in the first instance, whether attendance by District staff at any
conference or professional meeting is in the best interest of the District and eligible for reimbursement of expenses
under this policy.
To obtain reimbursement, the claimant must complete and sign an expense voucher, attach all receipts or other expense
documentation, together with a copy of the approved conference attendance request form and evaluation report (if
required) and submit the same to the appropriate administrator.

Ref:
Education Law 160,4(27); 17J}9(30); 18Q4; 2118; 2523; 25z4; 3023; 3028; 3813
General Municigal Law 7-'7--b
Note: Prior policies 6830, 6831 and 9281 are combined

Adopted Date: September 25, 1991
Revised: February 28, 2001
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